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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF MINNESOTA
                                       Cr. No. 20-113 (DSD/BRT)

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )       POSITION OF DEFENDANT WITH
                                               )       RESPECT TO SENTENCING FACTORS
               v.                              )
                                               )
JOSE FELAN, JR.                                )
                                               )
                       Defendant.              )


       Jose Felan is before the Court for sentencing after having pled guilty to one count of

arson. Mr. Felan agrees with the advisory guideline calculations contained in the PSR, namely

that the total offense level is 23 and his criminal history category is IV, resulting in an advisory

guideline range of 70-87 months. Applying the sentencing factors outlined in 18 U.S.C.

§ 3553(a), Mr. Felan respectfully requests the Court to sentence him to the mandatory

minimum sentence of 60 months in prison as a sentence that is sufficient, but not greater than

necessary to accomplish the purposes of sentencing.

               I. A SENTENCE OF 60 MONTHS IN PRISON IS A SENTENCE SUFFICIENT,
                  BUT NOT GREATER THAN NECESSARY TO ACCOMPLISH THE PURPOSES
                  OF SENTENCING OUTLINED IN 18 U.S.C. § 3553(a).

       In fashioning a sentence that is sufficient, but not greater than necessary to accomplish

the purposes of sentencing, district courts are not only permitted, but are required to consider

the history and characteristics of the defendant. U.S. v. Chase, 560 F.3d 828, 830 (8th Cir. 2009).

Factors such as defendant’s age, upbringing, medical conditions, prior military service, family

obligations, etc. can form the bases for a sentence variance from the advisory guideline range,

even though they would not justify a departure.            Id., at 830-831.    The presumption of

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reasonableness accorded to a sentence within the sentencing guideline range is an appellate

presumption, and the sentencing court does not enjoy the benefit of a legal presumption that

the guideline sentence should apply. U.S. v. Aguilera, 523 F.3d 876, 877 (8th Cir. 2008).

       Here the history and personal characteristics of Mr. Felan, his family responsibilities, the

nature and circumstances of the offense, the need to avoid unwarranted sentencing disparities

with the probationary sentence given to co-defendant Mohamed Abdi, the fact that he has been

in custody at Sherburne County Jail for over 15 months by the time he is sentenced and was

hospitalized in serious condition after contracting Covid-19 at the jail all support a sentence of

60 months in prison as a sentence that is sufficient, but not greater than necessary to accomplish

the purposes of sentencing. Defendant will address each of these points in turn.

       A. MR. FELAN’S HISTORY, PERSONAL CHARACTERISTICS AND FAMILY
          RESPONSIBILITIES SUPPORT A SENTENCE OF 60 MONTHS IN PRISON.

       Mr. Felan is 35 years old. He was born in Eagle Pass, Texas to migrant workers who

worked the fields across the United States. Although Mr. Felan’s family moved frequently, he

spent most of his childhood in Eagle Pass. His parents are still alive and both live in Eagle Pass,

although they were divorced in 2009. Eagle Pass is in Maverick County, which is the poorest

county in Texas, and is one of the poorest counties in the United States. Mr. Felan’s family was

very poor. Mr. Felan’s mother received food stamps for the family, which was the only way they

had enough food to survive. However, even with food stamps, there was never enough food for

Mr. Felan and his three siblings. At the end of the month, food in the home ran low, and Mr.

Felan oftentimes went to bed hungry.

       Although most of the students who went to Mr. Felan’s school in Eagle Pass were poor,

the Felan family was poorer than most. Mr. Felan remembers attending school with ripped

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shoes, and being teased by other children because of his shabby clothes. The family never owned

a home. They lived in a trailer home on his paternal aunt’s property. The trailer had a non-

functioning bathroom, which his father was not able to repair due to a lack of money. His father

dug a hole in the ground to serve as a toilet for the family to use. In place of a working sink, the

family used a Gatorade bucket to hold their water that was used for cooking and cleaning. The

trailer also had electrical problems. On one occasion, Mr. Felan’s father attempted to fix the

electrical problem. In attempting to fix the issues, the wiring was loose and made contact with

the underside of the trailer. The electricity shorted out, and the family dog, who was leashed to

the bottom of the trailer, was electrocuted and died. The trailer was damaged by sparks caused

by the loose wires coming into contact with the underside of the trailer. As a result of the

damage, the family was displaced from the trailer for several months, and resided at a local

church.

       Although Mr. Felan’s parents were not physically abusive, they argued almost on a daily

basis, which was hard on the children. His father, while present in the home, did not show any

interest in raising or being a good role model to Mr. Felan, who was the oldest child. He was an

alcoholic who drank daily. Although he was an alcoholic, he continued to work hard, but could

not bring in enough money to support the family. He could not read or write, either in English or

Spanish, so he could not obtain other employment that would pay a better wage. He did not

guide Mr. Felan in any way, and did not provide any discipline when Mr. Felan did something

wrong. His mother tried to show interest in Mr. Felan, including disciplining him when he did

something wrong, but she had severe depression, and could not provide the guidance that Mr.

Felan needed as he was growing up.


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        To say that Mr. Felan had a difficult childhood is an understatement. In essence, he was

left on his own to fend for himself, without any guidance from his parents. He began hanging

out with the wrong crowd, and getting in trouble in school. It culminated in Mr. Felan dropping

out of school in the 11th grade. He married his first wife when he was just 17 years old, and had

his first child shortly thereafter.

        Other district and appellate courts have recognized that a defendant’s difficult childhood

can be a factor in sentencing a defendant to a sentence lower than the applicable advisory

guideline range. In U.S. v. Patzer, 548 F.Supp.2d 612 (N.D. Ill 2008), the district court sentenced

the defendant, who was a career criminal, to 13 years in prison on a plea of guilty to two bank

robberies. The defendant’s advisory guideline range was approximately 28-34 years in prison. In

justifying a sentence more than 50% less than the low-end of the advisory guideline range, the

Court relied in part on defendant’s difficult childhood. The court noted as follows:

                        Second, Patzer had a difficult childhood, no doubt made more
                        difficult by the absence of an appropriate diagnosis for his ADHD.
                        The record indicates that his biological family was abusive and
                        unsupportive, relinquishing custody of Patzer to DCFS at the age
                        of 15. … Nevertheless, Patzer is, according to letters from friends
                        and family, basically a good person with a heart who has never,
                        even in the depths of his addiction, physically harmed anyone and
                        who sincerely regrets the choices that have led him here. … He has
                        a trade (machinist and welder). He has shown that he has the ability
                        to be a productive member of society when he is not abusing drugs.
                        … The Court concludes that the sentence imposed, plus the lengthy
                        term of supervised release, provides ample opportunity for Patzer to
                        receive treatment so that he can be rehabilitated. Patzer at 618.

        Like Patzer, Mr. Felan had a difficult childhood. He grew up very poor in the poorest of

counties in Texas. He never had enough food to eat, and lived in a trailer that did not have a

working toilet. He had to go to the bathroom in a hole that his father had dug for the family


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because they did not have enough money to fix the toilet. He drank and bathed from water that

was kept in a Gatorade jug because there was no working plumbing in the trailer. The family dog

was electrocuted when his father tried to fix an electrical problem by himself causing the loose

wires to short and electrocute the family dog who was tied to the bottom of the trailer. While

his parents were both physically present, they argued almost daily, which put a strain on the

family. His father was an alcoholic who drank daily and showed no interest in Mr. Felan. Mr.

Felan was allowed to roam the neighborhood without any supervision, started hanging out with

the wrong crowd, and dropped out of high school when he was in the 11th grade. He got married

shortly thereafter, and had his first child shortly after he got married. His childhood was bad and

he was on his own at a very young age.

       Mr. Felan has made mistakes in his life, including his actions here which brought him

before the Court. While he has made mistakes, he has never physically hurt anyone or acted out

in anger against anyone. He knows what he did was wrong, and that he has to pay a price for his

actions. However, Mr. Felan respectfully requests the Court to show some leniency to him

considering his turbulent childhood in determining a sentence that is sufficient, but not greater

than necessary to accomplish the purposes of sentencing.

       Also, see, U.S. v. Hubbard, 369 F.Supp.2d 146 (D. Mass 2005) (a sentence of 108 months

with an advisory guideline range of 188-235 months in a crack cocaine case appropriate in part

because of defendant’s traumatic childhood involving abuse, and where he watched three of his

siblings die in a fire caused by a fire bomb thrown by his abuser); U.S. v. Collington, 461 F.3d 805

(6th Cir. 2006) (family history where defendant’s father was murdered in their home when




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defendant was nine years old, and then lost his mother to cancer two years later is a factor that

warrants a sentence below the advisory guideline range).

       Although Mr. Felan had a turbulent childhood and has made mistakes in his life, he has

also taken steps to improve his life and the life of his family. He received his GED in 2006 and

obtained an Associate Degree in Liberal Arts and Sciences from Rochester Community and

Technical College. He met Mena Yousif in 2017 and they were married in December of 2019.

When George Floyd was murdered, Ms. Yousif and Mr. Felan were living a good life in Rochester,

Minnesota. They were both working at Chipotle restaurants. Mr. Felan started as a line prep

cook and cashier and was later promoted to a manager. They have a son together who is almost

2 years old, and a daughter who is 9 months old, and who was born while Mr. Felan has been in

custody. He had a bright future with a wonderful family when he got caught up in the emotions

surrounding the murder of George Floyd, and in a matter of minutes upended his life by his

actions on May 28, 2020.

       Mr. Felan does not know if he will ever be able to mend his relationship with Ms. Yousif,

but no matter what happens with his relationship with Ms. Yousif, he wants to support his

children, both financially and emotionally. He wants to be present in their lives, and wants to

teach them to not make the same mistakes he has made in his life. He is truly sorry for his actions,

both for the pain it caused the community and the pain and suffering it caused to his family. As

Mr. Felan in part wrote to the Court:

               The people I hurt the most were my wife and my two little babies that I
               often cry for. I put my wife in a predicament and my children in a situation
               where I cannot father them. My family and those around lost faith in me,
               especially my wife’s family. I hurt and caused damage to them and to
               myself. I have begun the process of redeeming myself but the process will
               be long, slow, and painful. I sincerely and profoundly apologize to the

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               community of St. Paul for the damage I brought to them that day and would
               like to say that I am deeply sorry. To the protesters around the country, my
               message to them is this: violence is not the solution. What point is there in
               hoping for a better society while destroying it at the same time? Your honor,
               I respectfully and humbly request for leniency in my case. I can do better
               because I have learned so much from just the trauma of this experience. It
               has been two years and since then I have re-assessed my decision making
               and learned that in life things are best achieved in a peaceful manner. Life
               is too short and precious for violence. Mahatma Gandhi one time said,
               “Victory attained by violence is tantamount to a defeat, for it is momentary.”
               I swear to live by this profession. You will never see me in this courtroom again.
               Thank you for your time, your honor. Letter of Jose Felan, Jr.

Mr. Felan, while not highly educated, is a smart man. He is fluent in English, French, Spanish,

American Sign Language and some Arabic, all of which are self-taught. Over these last two years,

he has engaged in self-reflection about what he did on May 28, 2020 and knows that violence is

never the solution. If he could take back his impulsive actions of May 28, he would, but he cannot.

However, he is on the road to redemption, and will do anything and everything he can to be a

good role model to his children. He is a vociferous reader. While at Sherburne County Jail, he

has read many self-help books to better himself, and to help prepare him to once again be a

productive member of society. When he is released from prison, he wants to open a Mexican

restaurant in Minnesota to be close to his youngest children, and also wants to own rental

properties in Eagle Pass, Texas with the help of his relatives who live in Eagle Pass.

       We ask the Court to balance Mr. Felan’s criminal actions on May 28, 2020 against his

history, personal characteristics, family obligations and his sincere commitment to change in

arriving at a sentence that is sufficient, but not greater than necessary to accomplish the

purposes of sentencing. We respectfully suggest that a sentence of 60 months in prison, a

sentence 10 months below the low-end of the advisory guideline range, plus a supervised release



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term of 3 years is a sentence that is sufficient, but not greater than necessary to accomplish the

purposes of sentencing.

       B. THE NATURE OF THE OFFENSE AND THE NEED TO AVOID UNWARRANTED
          SENTENCING DISPARITIES BETWEEN MR. FELAN AND HIS CO-DEFENDANT
          SUPPORT A SENTENCE OF 60 MONTHS IN PRISON.

       There is no excuse for Mr. Felan’s actions in this case, and he offers none here. What he

did was wrong and he needs to be punished for his actions. However, like his co-defendant

Mohamed Abdi and others who were protesting the murder of George Floyd, he got caught up

in the emotions of that day, and made the biggest mistake in his life. Mr. Felan did not go to the

protest on May 28 intending to set fires in any buildings or to hurt anyone. He got caught up in

the rioting and lawlessness he saw that day, and unfortunately decided to participate. For that,

he is truly sorry. As Mr. Felan wrote in his letter to the Court:

               The May 28th protest was not a protest at all, it was chaos. I was easily
               swept away by the motion of the ocean that day and committed a
               mistake that will live with me for the rest of my life. That day I committed
               a crime that no business owner can respect. I intentionally set fires to
               certain places. I was carried away by the monkey-see-monkey-do
               syndrome. It was random, it was spontaneous, it was stupid.
               See, Jose Felan letter to Court.

       While not minimizing the seriousness of his actions, it is also important to note the nature

and extent of the fires. As noted in the Offense Conduct section of the PSR, Mr. Felan entered

both the Goodwill Store and 7 Mile Sportswear Store after they were already broken into and

looted, with significant damage already being done to the stores. He went into the back storage

rooms of the stores and lit cardboard boxes on fire. He did not light the fires in the main

showrooms of the stores, nor did he light the walls or flooring in the back storage rooms on fire.

The fires caused damage in the back storage rooms of the stores, but the damage caused by the


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fires was limited. He did not use accelerant to start the boxes on fire at the 7 Mile Sportswear

Store, so most of the fire damage there was caused by the sprinklers. Mr. Felan should not and

cannot be held liable for the damage the looters did by ransacking the stores. He also assisted

Mohamed Abdi in lighting a garbage can on fire at Gordon Parks High School by providing the

accelerant that Mohamed Abdi used to light an article of clothing on fire that was then used to

light a garbage can on fire. While Mr. Felan provided the accelerant used to light the fire at

Gordon Parks High School, Mr. Abdi is the person who lit the garbage can on fire. Again, the

damage to the school as a result of the fire was limited.

       Mr. Abdi’s advisory guideline range was 37-46 months in prison. This Court did not

sentence Mr. Abdi to prison, instead putting him on probation for 5 years. Mr. Felan does not

question the Court’s sentence in Mr. Abdi’s case. He also does not dispute that he should receive

a significantly longer sentence than Mr. Abdi. However, as with Mr. Abdi’s case, Mr. Felan did

not go to the protest on May 28 with the intent of committing any crime, and definitely did not

go there intending to set fires in buildings. He did not bring accelerant with him, but obtained it

from a store on University Avenue during the protests. He got caught up in the emotion and

chaos he observed, and made the mistake of his life for which he is going to have to live with for

the rest of his life. His actions in setting the fires, while serious, were limited in scope. A sentence

greater than the mandatory minimum sentence of 60 months in prison would create

unwarranted sentencing disparities between Mr. Felan and Mr. Abdi. Therefore, a sentence of

60 months in prison followed by a supervised release term of 3 years is a sentence that is

sufficient, but not greater than necessary to accomplish the purposes of sentencing.




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       C. MR. FELAN’S INCARCERATION AT SHERBURNE COUNTY JAIL FOR OVER
          15 MONTHS UNDER COVID-19 RESTRICTIONS AND WHERE HE
          CONTRACTED A SERIOUS CASE OF COVID-19 REQUIRING
          HOSPITALIZATION SUPPORT A SENTENCE BELOW THE ADVISORY
          GUIDELINE RANGE.

       Mr. Felan has been incarcerated at Sherburne County Jail since April of 2021. By the time

of the sentencing hearing, he will have been at Sherburne County for over 15 months. It is never

pleasant to be serving any time at Sherburne County Jail, but it has been even more oppressive

as a result of Covid-19. The jail has been on periodic lockdown as a result of the pandemic, where

inmates are locked down in their cells for 23 hours. Despite these precautions intended to avoid

Covid outbreaks at the jail, Mr. Felan tested positive for Covid-19 on December 25, 2021.

Defense counsel obtained the medical reports from the Sherburne County Jail, and with the

consent of Mr. Felan provided a copy to probation officer Kiah Smith on March 13, 2022. The

records reflect that after Mr. Felan tested positive for Covid, his physical condition over the next

week continued to get worse. He was unable to eat, and he was running a fever. He also started

to have difficulty breathing, and his oxygen saturation level dipped below 90. His condition

continued to deteriorate to the point that it was difficult for Mr. Felan to walk to the jail clinic.

On January 2, 2022, Mr. Felan was transported to the hospital. He was hospitalized from January

2, 2022 through January 15, 2022. During his hospitalization, his oxygen levels continued to drop

drastically. He also developed a blood clot in his calf, and had similar pain in his left arm. The

doctors at the hospital were worried that he could develop a blood clot in his arm that would

travel to his lungs or heart and be fatal.

       With treatment, including taking Eliquis to prevent further blood clots, Mr. Felan began

to recover. He was discharged from the hospital on January 16, 2022 and returned to Sherburne


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County Jail. Although he was recovering, he still had trouble walking throughout the jail, because

any exertion would reduce his oxygen saturation levels. Anytime he would walk upstairs or walk

longer than a short distance, he would have trouble breathing, and had to use a wheelchair to

get around. He was prescribed Eliquis to be taken in jail to prevent further blood clots, and is still

taking the medication. Thankfully, his blood pressure, which during the height of his illness, had

dropped dangerously low, has recovered. His breathing has also gotten better, although he is

not completely healed yet.

       During this time, Mr. Felan’s family could not have any contact with him, and could not

even be told where he was hospitalized. They could not talk to the hospital staff to get updates

on his condition. The undersigned contacted Assistant U.S. Attorney Melinda Williams to see if

she could get updates from the U.S. Marshal’s Office regarding Mr. Felan’s condition. Ms.

Williams was able to give regular updates to defense counsel on Mr. Felan’s condition that she

obtained from the U.S. Marshal’s Office, which was comforting to Mr. Felan’s family. Defense

counsel, Mr. Felan and Mr. Felan’s family are grateful for the compassion Ms. Williams showed

to Mr. Felan and his family.

               Mr. Felan is now better, although he is not 100%. Prior to his incarceration, Mr.

Felan was a healthy man, who had no preexisting conditions. Now, he is worried that he will

have lingering problems that may be permanent as a result of contracting Covid-19 while

incarcerated at the Sherburne County Jail.

               Mr. Felan respectfully requests the Court to consider his lengthy incarceration at

Sherburne County Jail, and the pain and suffering he incurred as a result of contracting Covid-19,




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along with the other sentencing factors present here in determining a sentence that is sufficient,

but not greater than necessary to accomplish the purposes of sentencing.

                                            II. CONCLUSION

       “Seek wisdom to temper justice with compassion” is a phrase accompanying a sculpture

of the Angel of Mercy speaking to Lady Justice at Cumberland School of Law in Birmingham,

Alabama. Mr. Felan requests this Court to do just that: exercise justice tempered with mercy.

       For the foregoing reasons and those to be set forth prior to sentencing, Mr. Felan

respectfully asks this Court to sentence him to 60 months in prison followed by a term of

supervised release of 3 years. In addition, Mr. Felan requests the Court to recommend that he

be incarcerated in a facility in Minnesota or as close to Minnesota as possible so he can be near

his children who live with their mother in Minnesota.

Dated: July 7, 2022                                 Respectfully submitted,

                                                    SICOLI LAW, LTD.



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